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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

____________________________________
                                     )
GREGORY SMITH,                       )
                                     )
            Plaintiff,               )
                                     )
      v.                             )                Case No. 15-CV-161 (ABJ)
                                     )
DISTRICT OF COLUMBIA, et al.,        )
                                     )
            Defendants.              )
____________________________________ )

           DEFENDANTS’ MOTION FOR PARTIAL SUMMARY JUDGMENT

       Defendants District of Columbia, Jack Jones and Jeanette Myrick (Defendants), through

undersigned counsel, pursuant to Fed. R. Civ. P. 56, move the Court for partial summary

judgment as to Plaintiff’s First Amended Complaint [36]. Defendants are entitled to summary

judgment on Plaintiff’s Fifth Amendment claim pursuant to 42 U.S.C. § 1983 because 1)

Plaintiff cannot establish a Fifth Amendment violation; 2) Defendants Jones and Myrick are

entitled to qualified immunity; and 3) Plaintiff cannot prove municipal liability against the

District. Additionally, Plaintiff’s common law false imprisonment claim fails as a matter of law.

Plaintiff’s negligent supervision and training claim fails because he cannot establish a standard

of care that was breached by Defendants, and he failed to comply with D.C. Code § 12-309.

       A memorandum of points and authorities and a proposed order are attached hereto for the

Court’s consideration.

                                              Respectfully submitted,

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                                              Attorney General for the District of Columbia
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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

____________________________________
                                     )
GREGORY SMITH,                       )
                                     )
            Plaintiff,               )
                                     )
      v.                             )                Case No. 15-CV-161 (ABJ)
                                     )
DISTRICT OF COLUMBIA, et al.,        )
                                     )
            Defendants.              )
____________________________________ )

         MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
         DEFENDANTS’ MOTION FOR PARTIAL SUMMARY JUDGMENT

       Defendants District of Columbia, Jack Jones, and Jeanette Myrick (Defendants),through

undersigned counsel, submit this Memorandum of Points and Authorities in support of their

Motion for Partial Summary Judgment.

                                   STATEMENT OF FACTS

       This action arises as a result of Plaintiff Gregory Smith’s (Plaintiff) incarceration with the

District of Columbia Department of Corrections. On March 15, 2014, the District of Columbia

Department of Corrections (DOC) received a commitment order from D.C. Superior Court in

Case Number 2012 CMD 007806 ordering that Plaintiff was to be committed to the custody of

DOC until further order from the Court. Statement of Material Facts as to Which There Is No

Genuine Dispute (hereinafter “SOMF”) at ¶ 1. On that same day, DOC also received a

commitment order from D.C. Superior Court in Case Number 2014 CMD 004452 ordering that

Plaintiff was to be committed to the custody of DOC until further order from the Court. Id. at ¶

2. Three days later, on March 18, 2014, Plaintiff was transported from the D.C. Jail to D.C.




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Superior Court, and was ordered released in both Case Number 2012 CMD 007806 and in Case

Number 2014 CMD 004452. Id at ¶ 3.

       When a D.C. Superior Court judge authorizes a release, the courtroom clerk is

responsible for generating the release order. Id. at ¶ 4. The clerk then prints two copies of the

order for the judge’s signature. The clerk also signs both copies of the order. Id. at ¶ 5. One

copy is to be scanned into CourtView, which is a software program that creates an electronic

case file, and one copy is to be given to the Deputy U.S. Marshal in charge of the prisoner. Id. at

¶ 6. The Deputy U.S. Marshal would then sign a copy of the Order. Id. at ¶ 7. The clerk is

responsible for taking the Court’s copy to the scanning department on the fourth floor at D.C.

Superior Court for it to be scanned into CourtView. Id. at ¶ 8.

       The Deputy U.S. Marshal receives a copy of the order from the courtroom clerk. Id. at ¶

9. At some point, the Deputy U.S. Marshal would then take the release order and prisoner to the

main cellblock in D.C. Superior Court. Id. at ¶ 10. Misdemeanor inmates are released directly

from D.C. Superior Court. Id. at ¶ 11. However, an individual cannot be released until his status

is reviewed by a legal instrument examiner in the records office at the D.C. Jail and it is

determined that the individual has no other cases or other detention holds that require further

incarceration. See id. at ¶¶ 12-21. In order to process a release order, a legal instrument

examiner uploads the document into an electronic system known as Transaction Management

System (TMS). Id. at ¶ 12. The legal instrument examiner then pulls the inmate’s institutional

file for review to ensure the release order matches the commitment by PDID number, inmate’s

name, date of birth, and case number. Id. at ¶ 13. After that is completed, the legal instrument

examiner accesses DOC’s internal system known as JACCS to ensure all documents are posted,

all information is accurate, the release order matches with the commitment order, and closes out



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the case as directed by the Court’s order. Id. at ¶ 14. Once the release order is verified by a legal

instrument examiner and matches the information in JACCS, the release order is scanned into

DOC’s internal system called Paper Clips. Id. at ¶ 15. The legal instrument examiner is also

required to check MyJUSTIS to verify that the individual can be released on that specific case.

Id. at ¶ 16. MyJUSTIS is a court-based system that reflects information that was inputted by the

court. Id. at ¶ 17. In late 2012 or early 2013, DOC staff began to utilize MyJUSTIS, a system

that reflects the same information contained in CourtView. Id. at ¶ 18. A legal instrument

examiner is also required to perform a Washington Area Law Enforcement System (WALES)

check to identify any active local warrants, as well as conduct a National Crime Information

Center (NCIC) check to identify any active felony, extraditable, or fugitive warrants. At some

point, WALES became eAgent. Id. at ¶ 19. After a legal instrument examiner performs his

tasks, a supervisory legal instrument examiner is required to double check all work completed by

the legal instrument examiner and prepare a release authorization form. Id. at ¶¶ 20-21.

       DOC received and processed the release order for Gregory Smith in Case Number 2014

CMD 004452 on March 18, 2014. Id. at ¶ 22. With respect to the release order for Case

Number 2012 CMD 007806, a legal instrument examiner at the records office received and

stamped the order on March 18, 2014, at approximately 9:33PM, but unfortunately the order was

not processed. Id. at ¶ 23. Plaintiff was subsequently held at the facility until April 10, 2014, at

which time he was released. Id. at ¶ 24.

       Plaintiff filed suit against the District of Columbia, legal instrument examiner Jack Jones,

and Correctional Program Administrator Jeanette Myrick. See generally First Am. Compl. [36].

Plaintiff brings claims for 1) violation of the Fifth Amendment pursuant to 42 U.S.C. § 1983

(Count I); 2) common law false imprisonment (Count II); 3) negligence (Count III); and 4)



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negligent supervision and training (Count IV). Defendants now move for summary judgment as

to all of these claims with the exception of Plaintiff’s negligence claim (Count III).

                                   STANDARD OF REVIEW

       Summary judgment is appropriate pursuant to Fed. R. Civ. P. 56 where, as here, “the

pleadings, depositions, answers to interrogatories, and admissions on file, together with the

affidavits, if any, show that there is no genuine issue as to any material fact and that the moving

party is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(c); see also Brehm v. Dep’t

of Defense, 577 F. Supp. 2d 446, 448 (D.D.C. 2008). “[C]ourt[s] must look to the substantive

law on which each claim rests” in determining which facts are material. Brehm, 577 F. Supp. 2d

at 448 (citation omitted). “A genuine issue is one whose resolution could establish an element of

a claim or defense, and, therefore, affect the outcome of the action.” Id. (internal quotation

marks and citation omitted).

       To survive summary judgment, the nonmoving party must present evidence to support

each essential element of his or her claims. Celotex v. Cattret, 477 U.S. 317, 322-23 (1986). It

“may not rely solely on allegations or conclusory statements” and must instead “present specific

facts that would enable a reasonable jury to find in its favor.” Brehm, 577 F. Supp. 2d at 448

(citations omitted). “[A] complete failure of proof concerning an essential element of the

nonmoving party’s case necessarily renders all other facts immaterial.” Celotex, 477 U.S. at 323.

                                          ARGUMENT

  I.   DEFENDANTS ARE ENTITLED TO SUMMARY JUDGMENT ON
       PLAINTIFF’S FIFTH AMENDMENT CLAIM PURSUANT TO 42 U.S.C. § 1983.

           a. Defendants Jack Jones and Jeanette Myrick are Not Liable for Any Violation
              of Plaintiff’s Fifth Amendment Rights.




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        Defendant Jack Jones is a legal instrument examiner for the Department of Corrections

who was responsible for processing prisoner intakes and releases at D.C. Jail. Plaintiff alleges

that Defendant Jones processed the March 18, 2014 release order for Case Number 2014 CMD

4452 but he then failed to review the CourtView System or Plaintiff’s institutional file to

determine whether Plaintiff had any other court orders requiring processing. First Amend.

Compl. at ¶ 9. Had he done so, Plaintiff claims he would have discovered that Plaintiff was also

being held in Case Number 2012 CMD 7806 and needed to be processed for release in that case.

Id.

        Defendant Jeanette Myrick is employed at the D.C. Jail as a Correctional Program

Administrator and is responsible for “oversee[ing] the day-to-day operations of the Inmate

Records Office” at D.C. Jail. In that capacity, she supervises the legal instrument examiners.

Plaintiff alleges that, despite her knowledge of the failings of her subordinates, she failed to

undertake steps that would have prevented overdetentions and as a result Plaintiff was

overdetained. Id. at ¶ 8.

        Plaintiff seeks to hold Defendants Smith and Myrick liable for a violation of what he

terms is his “constitutional rights.” Id. at ¶¶ 33, 34. Although Plaintiff fails to identify what

constitutional rights he claims were violated, Defendants presume Plaintiff is referring to his

Fifth Amendment substantive due process rights.

        As demonstrated below, Defendants Jones and Myrick are entitled to qualified immunity

as to Plaintiff’s constitutional claim.

            b. Defendants Jones and Myrick Are Entitled to Qualified Immunity.

        It is well settled that public officials enjoy a qualified immunity from constitutional and

statutory claims against them. Saucier v. Katz, 533 U.S. 194, 200 (2001); Lederman v. United

States, 291 F.3d 36 (D.C. Cir. 2002). The doctrine of qualified immunity shields a public official
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from constitutional liability, insofar as the official’s conduct does not violate a clearly

established statutory or constitutional right of which a reasonable person would have known.

See Pearson v. Callahan, 555 U.S. 223, 232-33 (2009) (citing Harlow v. Fitzgerald, 457 U.S.

800, 818 (1982)). Thus, a government official cannot be held personally liable for conduct that

he would not have reasonably known was unconstitutional. Saucier v. Katz, 533 U.S. 194, 2002

(2001). The right the official is alleged to have violated must be sufficiently clear that a

reasonable official would understand that what he is doing violates that right. Id. at 202.

       The Supreme Court has further explained that the trial court must consider two factors in

analyzing the merits of a qualified immunity claim. Pearson, 555 U.S. at 231-32. The Court

must determine whether plaintiff has proved facts that show deprivation of a constitutional right.

Id. at 232. The Court must also decide whether the constitutional right at issue was clearly

established at the time of the officer’s alleged conduct. Id. The Court has the discretion to

decide which question should be analyzed first, in light of the particular circumstances of the

case at hand. Id. at 235-36.

       Here, there exists insufficient evidence in this case to demonstrate a Fifth Amendment

violation on the part of Defendants Jones and Myrick. In the alternative, should the Court find a

violation of Fifth Amendment, the particularized facts of this case were not clearly established at

the time of the violation.

           c. Plaintiff Cannot Establish A Fifth Amendment Violation.

       Only the most egregious and arbitrary acts of government officials are sufficient to

trigger the substantive due process clause. See Cnty. of Sacramento v. Lewis, 523 U.S. 833, 846

(1998) (citing Collins v. Harker Heights, 503 U.S. 115, 129 (1992)). The conduct must be “so

egregious, so outrageous that it may fairly be said to shock the contemporary conscience.”

Lewis, 523 U.S. at 847 n.8; see also Collins, 503 U.S. at 128; Butera v. District of Columbia, 235
                                                   6
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F.3d 637, 651 (D.C. Cir. 2001). The action most likely to rise to the “conscious shocking level,”

is conduct intended to injure the plaintiff in a way unjustifiable by any government interest.

FOP v. Williams, 375 F.3d 1141, 1145 (D.C. Cir. 2004), quoting Lewis, 523 U.S. at 849 (citing

Daniel v. Williams, 474 U.S. 327, 331 (1986)). This stringent requirement exists to differentiate

substantive due process from local tort law. Butera, 235 F.3d at 651.

       Here, Plaintiff does not appear to allege nor is there any evidence in the record

demonstrating that Defendants Jones and Myrick intended to cause the Plaintiff to be

overdetained. Instead, Plaintiff proceeds on a “failure to act” theory. In the case of Defendant

Jones, the “failure to act” was his alleged failure to undertake additional record searches that

would have allegedly revealed that Plaintiff should be released from incarceration on March 18,

2014. As to Defendant Myrick, the “failure to act” is her alleged failure to properly supervise

the inmate records office at the D.C. Jail.

       A plaintiff alleging a Fifth Amendment “failure to act” violation must prove that the

official was at least deliberately indifferent to his constitutional rights. See Collins, 503 U.S. at

117; City of Canton v. Harris, 489 U.S. 378, 390 (1989) (city must exhibit deliberate

indifference toward individual in its custody before he can bring § 1983 claim based on its

failure to train officers). Deliberate indifference is “a mental state more blameworthy than

negligence,” and is “a state of mind that is the equivalent of criminal recklessness.” Hernandez

v. Keane, 341 F.3d 137, 144 (2d Cir. 2003). Conduct rising to the level of deliberate indifference

must also shock the conscience. Estate of Phillips v. District of Columbia, 455 F.3d 397, 404

(D.C. Cir. 2006).

       Deliberate indifference requires an omission of “indifference to a serious risk that is

voluntary, not accidental.” Farmer v. Brennan, 511 U.S. 825, 840 (1994). Thus, there can be no



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liability “unless the official knows of and disregards an excessive risk…; the official must both

be aware of facts from which the inference could be drawn that a substantial risk of serious harm

exists, and he must also draw the inference.” Id. at 837. There is no liability for “an official’s

failure to alleviate a significant risk that he should have perceived but did not.” Id. at 838.

       Given the standard for establishing deliberate indifference, the Supreme Court has

categorically rejected the notion that common law torts or negligently inflicted harm may

provide the basis for a substantive due process claim. Lewis, 523 U.S. at 848-49. Thus,

inadvertent errors or even negligence in the performance of official duties, do not warrant redress

under the substantive due process clause. Cnty. of Sacramento, 523 U.S. at 849, (“the

Constitution does not guarantee due care on the part of state officials; liability for negligently

inflicted harm is categorically beneath the threshold of constitutional due process.”); see also

Silverman v. Barry, 845 F.2d 1072, 1080 (D.C. Cir. 1988).

       Here, it cannot be said that Defendants Jones and Myrick were deliberately indifferent to

any risk that Plaintiff might be overdetained. As to Defendant Jones, at best, from what can be

gleaned from the record in this matter and as alleged by Plaintiff, Defendant Jones processed the

March 18, 2014 release order for Case Number 2014 CMD 4452, but he then allegedly failed to

review the CourtView system or Plaintiff’s institutional file to determine whether Plaintiff had

any other court orders requiring processing. First Amend. Compl. at ¶ 9. Had he done so, he

would have allegedly discovered that Plaintiff was also being held in Case Number 2012 CMD

7806 and needed to be processed for release in that case. Id.

       At worst, the conduct of Defendant Jones in failing to undertake further investigation

after processing the release in one case amounts to negligence. As ably stated by Plaintiff’s

expert penologist, “I don't know if one of these individuals who is responsible for reviewing the



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record had a migraine headache and they didn't review things quite as carefully.”· Lindsay Dep.

at 69:18-24. Succinctly stated, there is absolutely no evidence in the record from which it could

be concluded that the alleged failing amounted to anything more than negligence. For example,

Plaintiff might enjoy a colorable Fifth Amendment claim had Defendant Jones deliberately failed

to undertake further investigation of the records after processing the release, because he wanted

to leave work early. See Farmer v. Brennan, 511 U.S. 825, 840 (1994) (Deliberate indifference

requires an omission of indifference to a serious risk that is voluntary, not accidental.) Because

Plaintiff cannot demonstrate a violation of the Fifth Amendment, Defendant Jones is entitled to

qualified immunity.

       As to Defendant Myrick, a defendant may be held liable as a supervisor under Section

1983 if there exists either (1) his or her personal involvement in the constitutional deprivation, or

(2) a sufficient causal connection between the supervisor’s wrongful conduct and the

constitutional deprivation. International Action Center v. United States, 365 F.3d 20, 27-28

(D.C. Cir. 2004). A supervisor who merely fails to detect and prevent a subordinate’s

misconduct, therefore, cannot be liable for that misconduct. “The supervisor must know about

the conduct and facilitate it, approve it, condone it, or turn a blind eye for fear of what they might

see.” Id. at 28, quoting Jones v. City of Chicago, 856 F.2d 985, 992 (7th Cir.1988) (Posner, J.).

       Here, there is a paucity of evidence demonstrating supervisory deliberate indifference on

the part of Defendant Myrick. For one, there is no evidence that she had any personal

involvement in the processing of Plaintiff’s paperwork. Nor is there any evidence that she was

aware of any chronic deficiencies in Defendant Jones' work which she chose to ignore.

Moreover, if staff in the inmate records office learn of an overdetention incident, they are

required to report the incident to their supervisor. SOMF at ¶ 32. Additionally, when the office



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learns of an incident of overdetention, it is investigated and a report is prepared with the inmate’s

name, DC number, days of overdetention, and reasons. Id. at ¶ 33. The report is transmitted by

Defendant Myrick to DOC’s Deputy Director. Id. at ¶ 34. If an overdetention is the result of an

error by a DOC employee, the employee is disciplined. Id. at ¶ 35. Additionally, when records

office staff are hired, they receive forty hours of on-the-job training. Id. at ¶ 28. This training

covers topics directly related to the work performed by this office, including intakes, court

returns, processing releases, and sentence computations. Id. at ¶ 29. Indeed, it is clear that

Defendant Jones was familiar with the procedure in place for processing a release order. Id. at ¶

27. Given these scenarios, it is clear that Defendant Myrick did not violate Plaintiff’s Fifth

Amendment rights and as a result, she is entitled to qualified immunity.

       Should the Court find a constitutional violation on the part of either Defendant Jones or

Myrick, the relevant Fifth Amendment law would not have placed them on notice that their

conduct violated Plaintiff’s Fifth Amendment rights. See Butera v. District of Columbia, 235

F.3d 637, 652-54 (plaintiff’s verdict as to Fifth Amendment claim reversed where law in light of

the circumstances of case was not clearly established). Here, in light of the facts and

circumstances of this case, case law was not available to the Defendants that would have

established that their conduct was unconstitutional.

           d. Plaintiff Cannot Establish a Fifth Amendment Claim Against the
              Unidentified Legal Instrument Examiner.

       As to the release order in Case Number 2012 CMD 007806, at best, Plaintiff can

establish that the order was received and stamped by a legal instrument examiner or lead legal

instrument examiner at the records office on March 18, 2014, at approximately 9:33PM, but for

unknown reasons was not processed. SOMF at ¶ 23. As stated in the above discussion regarding

the constitutional culpability of Defendant Jones, there exists no evidence to support the claim

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that the failure to process the release order was anything more than inadvertence or clerical error

on the part of the unidentified employee. See Silverman v. Barry, 845 F.2d 1072, 1080 (D.C.

Cir. 1988) (“Inadvertent errors, honest mistakes, agency confusion, even negligence in the

performance of official duties, do not warrant redress under [42 U.S.C. § 1983].”) Accordingly,

Plaintiff cannot demonstrate that the failure to process the release order resulted from deliberate

indifference on the part of the unidentified employee.1

          e. The District of Columbia is Entitled to Summary Judgment As To Plaintiff's
             Fifth Amendment Claim.

         Because there is insufficient evidence to establish a Fifth Amendment claim as to the

individual defendants, Plaintiff cannot maintain his Fifth Amendment claim against the District.

A municipality’s liability under § 1983 is limited; it cannot be held liable under 42 U.S.C. § 1983

on the theory of respondent superior. See Monell v. Dep’t of Soc. Serves. of City of N.Y., 436

U.S. 658, 691, 694 (1978); Triplett v. District of Columbia, 108 F. 3d 1450, 1453 (D.C. Cir.

1997); Hunter v. District of Columbia, 943 F. 2d 69, 74 (D.C. Cir. 1991); Graham v. Davis, 880

F. 2d 1414, 1421 (D.C. Cir. 1989). “[A] local government may not be substituted under § 1983

for an injury inflicted by its employees or agents. Instead it is when execution of a government’s

policy or custom . . . inflicts the injury that the government as an entity is responsible under §

1983.” Monell, 426 U.S. at 694. A prima facie case for a Monell claim requires both (1) a

“predicate constitutional violation” and (2) “that a custom or policy of the municipality caused

the violation.” See Baker v. Dist. of Columbia, 326 F.3d 1302, 1305 (D.C. Cir. 2003), citing

Collins v. City of Harked Heights, Tex. 503 U.S. 115, 120 (1992); accord Brown v. Dist. of




1
 Moreover, the District cannot be found liable for a Fifth Amendment violation on the part of an unidentified
employee based upon a theory of respondeat superior liability. See Monell v. Dep’t of Soc. Serves. of City of N.Y.,
436 U.S. 658, 691, 694 (1978)

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Columbia, 514 F.3d 1279, 1283 (D.C. Cir. 2008); Kona v. Dist. of Columbia, 971 F. Supp. 2d 74,

81 (D.D.C. 2013).

         In this case, as demonstrated above, there is no predicate Fifth Amendment violation, and

as a result the District is also entitled to summary judgment as to Plaintiff’s Fifth Amendment

claim.

         Assuming—for the sake of argument only—that the Court finds a predicate constitutional

violation, the District is nonetheless entitled to summary judgment as to Plaintiff’s constitutional

claim. Municipal liability under Section 1983 attaches only where a deliberate choice to follow a

course of action is made from among various alternatives by city policymakers. City of Canton,

489 U.S. at 389. This requirement ensures that a municipality is held liable only for those

deprivations resulting from the decisions of its duly constituted legislative body or of those

officials whose acts may fairly be said to be those of the municipality. Board of the Cnty.

Comm’rs v. Brown, 520 U.S. 397, 403-04 (1997). Accordingly a plaintiff can prove that a

municipal custom or policy caused the constitutional harm by demonstrating that: (1) “the

municipality or one of its policymakers explicitly adopted the policy that was ‘the moving force

of the constitutional violation,’” Warren v. District of Columbia, 353 F.3d 36, 39 (D.C. Cir.

2004), quoting Monell, 436 U.S. at 694; (2) a policymaker “knowingly ignore[d] a practice that

was consistent enough to constitute custom,” id., citing City of St. Louis v. Praprotnik, 485 U.S.

112, 130 (1988); or (3) the municipality failed to respond “‘to a need . . . in such a manner as to

show ‘deliberate indifference’ to the risk that not addressing the need will result in constitutional

violations.’” Id., quoting Baker v. District of Columbia, 326 F.3d 1302, 1306; see generally

Connick v. Thompson, 563 U.S. 51 (2011) (Court outlines the requirements for holding a

municipality liable under §1983).



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        Plaintiff apparently does not advance the argument that policymakers have explicitly

adopted unconstitutional policies. According to Plaintiff’s expert penologist, Plaintiff would not

have been overdetained had Defendant Jones followed the procedures in place for processing

prisoners. Lindsay Dep. 51:10-12.

        In support of his deliberate indifference claim, Plaintiff claims that policymakers of the

District knowingly ignored a practice (i.e. overdetentions) that was consistent enough to

constitute custom. See First Amend. Compl. It is clear, however, that policymakers were not

deliberately indifferent. For example, Plaintiff acknowledges that in 2007, 302 inmates were

overdetained, 143 in 2008, 56 in 2009, 85 in 2010, 34 in 2011, 8 in 2012, and 11 in 2013. First

Amend. Compl. at 29. This drastic reduction in overdetentions did not result by accident. It

came about because the District of Columbia addressed the problem. Consequently, no

reasonable juror could conclude that the District ignored the overdetention problem and was

therefore deliberately indifferent to the problem. See Barnes v. District of Columbia, 793

F.Supp. 2d 260, 281 (D.D.C. 2011).

        Finally, Plaintiff contends that his overdetention resulted from a lack of training of staff,

thereby violating his Fifth Amendment rights. See Lindsay Dep. at 38. Because a finding of

liability in the context of a failure to train amounts to a judicial determination that “the city itself

[decided] to violate the Constitution,” the Supreme Court has imposed “a stringent standard of

fault, requiring proof that a municipal actor disregarded a known or obvious consequence of his

action.” Connick v. Thompson, 563 U.S. 51, 61–62, (2011); Robinson v. Pezzatt, 818 F.3d 1, 12

(D.C. Cir. 2016). Moreover, a plaintiff bears the burden of proving that the lack of training

actually caused the violation in question. Connick, 563 U.S. at 61-62.




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       Here, there is ample evidence that the Department of Corrections was not deliberately

indifferent to the need for training in the inmate records office. When legal instrument

examiners are hired, they receive 40 hours of on-the-job training. SOMF at ¶ 28. The on-the-job

training covers topics directly related to the work performed by legal instrument examiners such

as intakes, court returns, how to process releases, and sentence computations. Id. at ¶ 31. The

legal instrument examiners are also provided training materials that detail procedures related to

their job. Id. at ¶ 30. Furthermore, there is no evidence in this case demonstrating that

Defendant Jones was unaware of the appropriate procedures for processing inmates. Given the

training provided to the staff of the records office, the District cannot be deemed to be

deliberately indifferent to a need for training within the records office. Therefore the District is

entitled to summary judgment as to Plaintiff’s Fifth Amendment failure to train theory.

 II.   PLAINTIFF’S COMMON LAW FALSE IMPRISONMENT CLAIM FAILS AS A
       MATTER OF LAW.

       Pursuant to District of Columbia law, false imprisonment is “the restraint by one person

of the physical liberty of another without consent or legal justification.” Faneil v. Chesapeake &

Potomac Tel. Co. of Md., 404 A.2d 147, 150 (D.C. 1979). A claim for false imprisonment

“historically has been viewed as an intentional tort.” Johnson v. United States, 547 F.2d 688,

692 (D.C. Cir. 1976) (“[N]otwithstanding liability for negligence causing a confinement when

actual damage ensues, only an act intended to impose confinement or known by the actor to be

substantially certain of doing so generates the common law tort of false imprisonment.”)

       Here, as previously discussed, there is no evidence in the record to demonstrate that

Plaintiff’s overdetention resulted from anything more than inadvertence or clerical error. In

particular, there is no evidence that any Defendant intended Plaintiff to be detained against his

will. As a result, Defendants are entitled to summary judgment as to this claim.

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III.   PLAINTIFF’S NEGLIGENT SUPERVISION AND TRAINING CLAIM FAILS AS
       A MATTER OF LAW.

       a. Plaintiff Cannot Establish a Standard of Care That Was Breached By the
          District.

       In any negligence action, the plaintiff “must establish by competent evidence a standard

of care; that the defendant violated that standard; and that such violation proximately caused

injury to the plaintiff.” District of Columbia v. Carmichael, 577 A.2d 312, 314 (D.C. 1990)

(citation omitted). Expert testimony is required “if the subject in question is so distinctly related

to some science, profession or occupation as to be beyond the ken of the average layperson.”

Briggs v. Wash. Metro. Transit Area Auth., 481 F.3d 839, 845 (D.C. Cir. 2007); District of

Columbia v. Arnold & Porter, 756 A.2d 427, 433 (D.C. 2000), quoting Messina v. District of

Columbia, 663 A.2d 535, 538 (D.C. 1995). Expert testimony is not required “if the subject

matter is within the realm of common knowledge and everyday experience.” Briggs, 481 F.3d at

845. Here, the operations of a records office within a detention facility, including standards for

the supervision and training of records office staff, are not matters of common knowledge. See

Varner v. District of Columbia, 891 A.2d 260, 267 (D.C. 2006) (expert testimony is required “in

negligence cases . . . which involve issues of safety, security and crime prevention.)”

       The expert testimony must articulate and refer to a standard of care by which the

defendant’s actions can be measured. Toy v. District of Columbia, 549 A.2d 1, 6 (D.C. 1988);

District of Columbia v. Peters, 527 A.2d 1269, 1273 (D.C. 1987). “‘The purpose of expert

testimony is to avoid jury findings based on mere conjecture or speculation. The sufficiency of

the foundation of those opinions should be measured with this purpose in mind.’” Travers v.

District of Columbia, 672 A.2d 566, 568 (D.C. 1996), quoting Washington v. Washington Hosp.

Ctr., 579 A.2d 177, 181 (D.C. 1990). The standard of care must be “specific, articulable (and



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articulated),” and directly relate to the defendant’s alleged misconduct. Carmichael, 577 A.2d at

315; see Phillips v. District of Columbia, 714 A.2d 768, 773 (D.C. 1998).

       Expert testimony “‘is not sufficient if it consists merely of the expert’s opinion as to what

he or she would do under similar circumstances. Nor is it enough for the expert simply to

declare that the [defendant] violated the national standard of care.” Clark v. District of

Columbia, 708 A.2d 632, 635 (D.C. 1997), quoting Messina, 663 A.2d at 537. “The failure to

prove a standard of care is fatal because, in order to recover damages for negligence, ‘the

plaintiff must prove that the defendant deviated from the applicable standard of care.’ … If the

standard itself is not proven, then a deviation from that standard is incapable of proof.”

Carmichael, 577 A.2d at 314, quoting Toy, 549 A.2d at 6; see Clark, 708 A.2d at 635 (if an

expert fails “clearly articulate and [refer to] a standard of care by which the defendant’s actions

can be measured … a directed verdict for the defendant is properly granted”).

       Plaintiff’s expert takes issue with the training that was provided to employees in the

records office at the Department of Corrections. See id. at 38:19-39:2. Mr. Lindsay opines that

the on-the-job training provided to legal instrument examiners was insufficient, despite the fact

that he did not review any training records or manuals. See id. at 66:23-24, 100:13-16. Instead,

Mr. Lindsay points to the fact that the training at the DOC was different than what was provided

at an institution within the Bureau of Prisons where he previously served as Warden. See id. at

61:15-62:16. This, however, is insufficient to establish a national standard of care. See Briggs,

481 F.3d at 846 (“Expert testimony is not sufficient if it consists merely of the expert’s opinion

as to what he or she would do under similar circumstances”).

       It is important to first note that there is no evidence that the institution referenced is

comparable to the D.C. Jail. Mr. Lindsay was unaware of how the number of inmates processed



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annually from the Metropolitan Detention Center in Brooklyn, New York compares to the

number of inmates processed at the D.C. Jail. Lindsay Dep. at 14:15-20. He also admitted he

does know how the number of releases from Superior Court compares to the number of releases

from the Eastern District of New York. Id. at 55:4-11. Nor is he aware of how the District of

Columbia’s overdetention rate compares to the overdetention rate at this facility. See Lindsay

Dep. at 73:20-74:9; 97:6-9. Therefore, because he cannot prove this is a comparable institution,

he has failed to properly establish that this facility’s practice sets forth the national standard of

care.

         Moreover, even if this were a comparable institution, reference to a single institution is

not sufficient to establish a national standard of care. See Toy, 549 A.2d 1 (D.C. 1988). In

District of Columbia v. Peters, 527 A.2d 1269 (D.C. 1987), a police practices expert established

a national standard of care where he testified about the training provided by “many police

departments” and “[h]e also gave as examples specific law enforcement agencies which provide

such training.” Peters, 527 A.2d at 1273. The expert specifically identified police departments in

a broad enough geographical area—Seattle, Tallahassee, Jacksonville, Miami, Los Angeles and

Virginia—to establish that the practice was employed in comparable facilities nationwide. Id.

Additionally, as the expert provided specific examples, “[he] gave the jury a factual basis for

determining a standard of care beyond the expert’s personal opinion of what he or she would do

under similar circumstances.” Toy, 549 A.2d at 7, citing Meek v. Shepard, 484 A.2d 579 (D.C.

1984).

         Conversely, in Toy, the D.C. Court of Appeals found that the expert had failed to

establish the national standard of care when he only made general references to ACA standards

and a report by the National Center of Institutions and Alternatives, named only one specific



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police department with the relevant practice, and otherwise failed to indicate how many police

departments throughout the country utilized the practice. 549 A.2d at 7-8. The Court held that

“[o]ne instance of a police department [with the relevant practice] is plainly insufficient to

provide a factual basis for an expert opinion that the national standard of care requires police

departments” to engage in such practices. Id. at 8. Here, like the expert in Toy, Mr. Lindsay

points to only one institution that provides training allegedly different than what is provided to

legal instrument examiners with the Department of Corrections. Mr. Lindsay concedes he is

unfamiliar with the training that is provided to legal instrument examiners at any other

institution. Lindsay Dep. at 109:8-16. Therefore, there is no basis to find that Mr. Lindsay has

established a national standard of care. Consequently, the Court should grant summary judgment

to the District as to Plaintiff’s negligent supervision and training claim.

       b. Plaintiff Failed to Comply with the Mandatory Notice Requirements.

       Plaintiff’s negligent supervision and training claim against the District is barred by D.C.

Code § 12-309. In order to maintain any action against the District for unliquidated damages,

Plaintiff must satisfy the mandatory notice requirement of D.C. Code § 12-309. Section 12-309

provides in pertinent part that:

               An action may not be maintained against the District of Columbia
               for unliquidated damages to person or property unless, within six
               months after the injury or damage was sustained, the claimant, his
               agent, or attorney has given notice in writing to the Mayor of the
               District of Columbia of the approximate time, place, cause, and
               circumstances of the injury or damage.

See D.C. Code § 12-309. The requirements of the statute are not mere technicalities. The

requirements of § 12-309 are mandatory as a prerequisite to filing suit against the District of

Columbia. Pitts v. Dist. of Columbia, 391 A.2d 803, 807 (D.C. 1978) (citation omitted); Brown




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v. Dist. of Columbia, 853 A.2d 733, 736 (D.C. 2004); Cason v. D.C. Dep’t of Corrections, 477 F.

Supp. 2d 141, 146 (D.D.C. 2007). Since § 12-309 departs from the common law norm of

sovereign immunity by allowing suits against the District, the statute’s notice requirements are a

mandatory prerequisite to filing a lawsuit against the District. Blocker-Burnette v. Dist. of

Columbia, 730 F. Supp. 2d 200 (D.D.C. 2010). Indeed, in District of Columbia v. Dunmore, 662

A.2d 1356 (D.C. 1995), the D.C. Court of Appeals expressly held that Section 12-309 must be

construed narrowly against claimants. See also Giardino v. Dist. of Columbia, 252 F.R.D. 18, 23

(D.D.C. 2008) (“a plaintiff bringing claims under the DCHRA for unliquidated damages is not

excused from providing notice pursuant to § 12-309”).

        Plaintiff’s negligent supervision and training claim against the District is barred because

he failed to provide timely notice of his claim to the Mayor as required by § 12-309. Here,

Plaintiff notified the District of his intent to sue for his alleged illegal detention, and specifically

indicated in his May 7, 2014 notice letter that “Mr. Smith’s liberty was taken from him without

Due Process and as a result of the extended unlawful incarceration, Mr. Smith’s employer

terminated Mr. Smith’s employment.” See May 7, 2014 Letter from David Akulian, Esq. to

Mayor Vincent Gray, attached as Exhibit 13. Based on the information provided in the letter, the

District had no reason to believe that Plaintiff would file a lawsuit raising negligent supervision

and training as his notice letter makes no mention of any such claim. In Breen v. District of

Columbia, 400 A.2d 1058, 1062 (D.C. 1979), the court granted judgment to the District because

Plaintiff’s notice letter referred specifically to “a complaint of racial discrimination” but did not

include any reference to libel, defamation, or a similar-sounding claim. The Court held that “[t]o

hold that notice was proper here would be to frustrate the purposes of § 12-309, namely, to give

the District an opportunity to investigate and make timely adjustment of the claim (here, libel).”



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Id. Similarly, here, Plaintiff specifically raised a due process claim and made no mention of

negligence, particularly negligent supervision or training. To allow him to now proceed against

the District on his claim for negligent supervision and training would frustrate the purposes of

the statute. For that reason, Plaintiff’s negligent supervision and training claim against the

District should be dismissed. See Owens v. Dist. of Columbia, 993 A.2d 1085 (D.C. 2010); Byrd

v. Dist. of Columbia, 538 F. Supp. 2d 170, 175-76 (D.D.C. 2008) (dismissing claims brought

under the DCHRA for failure to provide mandatory notice pursuant to Section 12-309).

                                         CONCLUSION

       For the foregoing reasons, the Court should grant Defendants’ Motion for Partial

Summary Judgment.

                                              Respectfully submitted,

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